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7    Facebook Technologies, LLC; Instagram,
8    LLC; and Siculus, Inc.

9    Additional counsel listed on signature pages
10
                          IN THE UNITED STATES DISTRICT COURT
11                      FOR THE NORTHERN DISTRICT OF CALIFORNIA

12    IN RE: SOCIAL MEDIA ADOLESCENT                               MDL No. 3047
13    ADDICTION/PERSONAL INJURY PRODUCTS
      LIABILITY LITIGATION                                         Case No.: 4:22-md-03047-YGR-PHK
14
                                                                  STIPULATION AND [PROPOSED]
15    THIS DOCUMENT RELATES TO:                                   ORDER SETTING PAGE LIMITS FOR
16                                                                JOINT LETTER BRIEF RE FRANCES
      ALL MATTERS                                                 HAUGEN DEPOSITION AND
17                                                                DOCUMENT SUBPOENA
18
                                                                  Judge: Hon. Yvonne Gonzalez Rogers
19                                                                Magistrate Judge: Hon. Peter H. Kang
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      STIPULATION AND [PROPOSED] ORDER SETTING PAGE LIMITS FOR JOINT LETTER BRIEF RE FRANCES HAUGEN DEPOSITION AND
                                                  DOCUMENT SUBPOENA
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1            Pursuant to Civil Local Rule 7-12, Meta Platforms, Inc.; Instagram, LLC; Meta Payments,
2    Inc.; and Meta Platforms Technologies, LLC (collectively, “Meta,”) and Frances Haugen, through
3
     their undersigned counsel, hereby stipulate as follows:
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             1.      Ms. Haugen and Meta intend to submit a joint letter brief to the Court regarding
5
6    their outstanding disputes over Ms. Haugen’s deposition and Meta’s document requests to

7    Ms. Haugen.
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             2.      Ms. Haugen and Meta have agreed, in light of the number and complexity of the
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     issues to be resolved, subject to the Court’s permission, that they will file a single joint letter brief
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11   of 4.5 pages per side, for a total of 9 pages of letter briefing.

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13           IT IS SO STIPULATED AND AGREED.

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      STIPULATION AND [PROPOSED] ORDER SETTING PAGE LIMITS FOR JOINT LETTER BRIEF RE FRANCES HAUGEN DEPOSITION AND
                                                  DOCUMENT SUBPOENA
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1    DATED: June 11, 2025                                  Respectfully submitted,
2
3                                                             DAVIS POLK & WARDWELL LLP

4                                                               /s/ Antonio J. Perez-Marques
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23
                                                              Facebook Holdings, LLC; Facebook Operations,
24                                                            LLC; Facebook Payments, Inc.; Facebook
                                                              Technologies, LLC; Instagram, LLC; and
25                                                            Siculus, Inc.
26
                                                              LEVY FIRESTONE MUSE LLP
27
                                                                /s/ Joshua A. Levy
28
                                                              Joshua A. Levy

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     STIPULATION AND [PROPOSED] ORDER SETTING PAGE LIMITS FOR JOINT LETTER BRIEF RE FRANCES HAUGEN DEPOSITION AND
                                                 DOCUMENT SUBPOENA
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     STIPULATION AND [PROPOSED] ORDER SETTING PAGE LIMITS FOR JOINT LETTER BRIEF RE FRANCES HAUGEN DEPOSITION AND
                                                 DOCUMENT SUBPOENA
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1                                    SIGNATURE CERTIFICATION
2         Under Civ. L.R. 5-1(h)(3), I hereby attest that all signatories listed, and on whose behalf the
3
     filing is submitted, concur in this filing’s content and have authorized this filing.
4
5     DATED: June 11, 2025                                      /s/ Antonio J. Perez-Marques
6                                                              Antonio J. Perez-Marques

7                                                              Counsel for Meta Platforms, Inc.; Instagram,
                                                               LLC; Meta Payments, Inc.; and Meta Platforms
8                                                              Technologies, LLC
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     PURSUANT TO STIPULATION, IT IS SO ORDERED.
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17
     DATED:
18                                                             PETER H. KANG
19                                                             UNITED STATES MAGISTRATE JUDGE

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      STIPULATION AND [PROPOSED] ORDER SETTING PAGE LIMITS FOR JOINT LETTER BRIEF RE FRANCES HAUGEN DEPOSITION AND
                                                  DOCUMENT SUBPOENA
